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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 CLAUDETTE THOMPSON,                               )
                                                   )
                                 Plaintiff,        )
                                                   )   No. 18 C 6980
                         v.                        )
                                                   )   Judge
 MARJORIE MICHEL, M.D., and                        )
 ADVOCATE HEALTH AND HOSPITALS                     )   Formerly Case No. 2018 L 003574
 CORPORATION, a Corporation, d/b/a                 )   Circuit Court of Cook County, Illinois
 ADVOCATE TRINITY HOSPITAL,                        )
                                                   )
                                 Defendants.       )

                   NOTICE OF REMOVAL OF A CIVIL ACTION AND
                SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:        Dorothy Brown                               Melissa Gandhi
             Clerk of the Circuit Court                  KOMINIAREK BRESLER HARVICK &
             Richard J. Daley Center, Room 1001          GUDMUNDSON, LLC
             50 West Washington Street                   33 North Dearborn Street, Suite 1310
             Chicago, Illinois 60602                     Chicago, Illinois 60602
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             Dale Lance Cameron
             Scott Wolfman
             D&W LAW GROUP, P.C.
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             kumri@wolfmanlaw.com

        The United States, by its attorney, John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

        1.       On April 10, 2018, plaintiff Claudette Thompson commenced the above civil action

against Marjorie Michel, M.D., among others, alleging medical malpractice. A copy of the state
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court complaint is attached as Exhibit A. For purposes of this lawsuit, Chicago Family Health

Center, Inc. is a private entity that receives grant money from the Public Health Service pursuant

to 42 U.S.C. § 233. See Exhibit B. In addition, Dr. Marjorie Michel was acting within the scope

of her employment at Chicago Family Health Center with respect to the incidents referred to in the

complaint. Id.

       2.        This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that defendant Dr.

Marjorie Michel was acting within the scope of her employment at Chicago Family Health Center

with respect to the incidents referred to in the complaint. Exhibit B.

       3.        This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.        Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 28 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendant Dr. Marjorie Michel.




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       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Marjorie Michel, M.D.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Courtney R. Baron
                                                COURTNEY R. BARON
                                                Assistant United States Attorney
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                                     Certificate of Service

       The undersigned Assistant United States Attorney hereby certifies that in accordance with

Fed. R. Civ. P. 5, LR 5.5, and the General Order on Electronic Case Filing (ECF), the following

document:

       NOTICE OF REMOVAL AND SUBSTITUTION

was served pursuant to the district court’s ECF system as to ECF filers, if any, and were sent by

first-class mail on October 17, 2018, to the following non-ECF filers:

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                                                 s/ Courtney R. Baron
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